         Case 17-63608-sms   Doc 52    Filed 04/24/19 Entered 04/24/19 15:55:30   Desc Main
                                       Document     Page 1 of 3
                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

    IN RE:                                              Case No.:        bo$
    —if VIA
                                                        Chapter:




  aieow)eJ, Now,
ftLfli   1phd
                                                                        k--v-tfo
                                                                               /A06//         QL.

    Dated:                            Signature:



                                      Printed Name:        / 7r) tcya


                                      Address:



                                      Phone:
       Case 17-63608-sms   Doc 52   Filed 04/24/19 Entered 04/24/19 15:55:30    Desc Main
                                    Document     Page 2 of 3




                                                                               atiVAlio

 uvwv .rvlArd& 0                     Am       ey,01,44 oovva
 ub Latvia tok 6,,thv 4                   4   atto7t4,        OA, 621101   21    -




)(AA            <pf-,44, cAxtdvz,
   , vaeri              4L074?
                        4L0o &MØ0 acx6,,o,
                                  Jiab




                                                                         A24.. 60,164a.
               g   ot ,0461470.10, Jib                            •
             4), truezie, ak                                           ami

             cL-             cux0/4,Yoh,                         (4 c2Iua4eg
             1
Luau, L-uit-h&rA
L6 had, ata- enime mu4                         ii pns/ it           ,44&JL4CL)

        iA'Akr 04\AL
9A24) „Qi'                                       oualL          cp16                   /44€4e04.
Case 17-63608-sms   Doc 52   Filed 04/24/19 Entered 04/24/19 15:55:30   Desc Main
                             Document     Page 3 of 3



  8/
